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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    SARAH HILL, on behalf of all others               Case No.: 20-CV-1016 JLS (WVG)
      similarly situated,
12
                                      Plaintiffs,       ORDER VACATING HEARING
13
      v.                                                (ECF No. 18)
14
      BBVA USA, an Alabama corporation,
15
                                     Defendant.
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18         Presently before the Court is Defendant’s Motion to Compel Arbitration. (ECF No.
19   18.) On its own motion, the Court VACATES the hearing scheduled for October 22, 2020
20   at 1:30 p.m. and takes the matter under submission without oral argument pursuant to Civil
21   Local Rule 7.1(d)(1).
22         IT IS SO ORDERED.
23   Dated: October 16, 2020
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                                                                            20-CV-1016 JLS (WVG)
